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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                           Case No. 13-24700-CIV-WILLIAMS

 WILLIAM L. ROBERTS, II, et al.,

        Plaintiffs,

 vs.

 STEFAN KENDAL GORDY, et al.,

        Defendants.
 ~~~~~~~~~~-'
                                         ORDER

       THIS MATTER is before the Court on (DE 468) Defendants' expedited motion for

 the Court to reconsider its ruling denying summary judgment on Plaintiffs Andrew Harr

 and Jermaine Jackson's (the "Runners") legal ownership status. See (DE 462 at 19-26).

 The Court also addresses the Parties' motions regarding the April 15, 2019 trial date.

 (DEs 468, 475-476).

 I.    BACKGROUND

       The Court assumes familiarity with the facts giving rise to Defendants' motion for

 reconsideration. See (DE 399; DE 462). In relevant part, the Court held in its Omnibus

 Order on ownership entered January 4, 2019 (DE 462), that (1) Plaintiff William Roberts

 has no standing to sue as either a legal or beneficial owner, and thus final summary

 judgment will be entered against him; and (2) while there is also no evidence to support

 the Runners proceeding to trial as beneficial owners, triable issues of fact remain

 regarding their standing to sue as legal owners.

       Specifically, as to the Runners' legal ownership, the Court first held that it cannot

 determine if Hust/in' was created as a "work for hire" on summary judgment, because the
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 evidence on this highly factual inquiry is disputed. Id. at 19-22. 1 Next, the Court held that

 assuming Hust/in' was not a work for hire, "genuine disputes of material fact exist

 regarding whether Harr and Jackson assigned their interest in Hust/in' to" their company

 Trac-N-Field Entertainment (TNF). Acknowledging that "ample evidence supports the

 conclusion that Harr and Jackson assigned their interest in Hust/in' to TNF," the Court

 denied summary judgment on this issue, because 17 U.S.C. § 204(a) requires a transfer

 of copyright ownership to be evidenced by a signed writing, and the summary judgment

 record includes no such writing. (OE 462 at 22-23). Thus, the Court concluded "[a]

 genuine issue of material fact exists regarding Plaintiffs Andrew Harr and Jermaine

 Jackson's legal ownership interest in Hustlin'. That issue, along with their copyright

 infringement claims, must be presented to a jury[.]" Id. at 37.

 II.    LEGAL STANDARD

        Under the Federal Rules of Civil Procedure, the only grounds for granting a motion

 for reconsideration are "newly discovered evidence or manifest errors of law or fact."

 Arthur v. King, 500 F.3d 1335, 1343 (11th Cir. 2007) (quoting In re Kellogg, 197 F.3d

 1116, 1119 (11th Cir. 1999)). Such motions "cannot be used to relitigate old matters,

 raise argument or present evidence that could have been raised prior to the entry of

 judgment." Id. (quoting Michael Linet, Inc. v. Viii. of Wellington, Fla., 408 F.3d 757, 763

 (11th Cir. 2005)).




 1 If the Runners created Hust/in' as a work for hire, then they lack standing to sue for
 infringement and judgment must be entered against them.
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 Ill.   DISCUSSION

        A.     Defendants' Motion For Reconsideration

        Defendants argue that denying summary judgment on the Runners' standing to

 sue as legal owners was "manifest error" for two reasons. First, they argue that even if

 the Runners never assigned their legal ownership interest in Hust/in' to TNF, any interest

 they had in the copyright was assigned to Notting Dale, Inc. in the November 2006 Notting

 Dale Agreement. (DE 468 at 1). Second, they insist that the record includes "multiple,

 written 'note[s] or memorand[a] of the transfer' to TNF, signed by Harr and Jackson that

 satisfy 17 U.S.C. § 204(a) and independently memorialize the transfer of ownership to

 TNF[.]" (DE 468 at 2).

               i.     The Notting Dale Agreement Does Not Definitively Prove That
                      Defendants Are Entitled To Summary Judgment On The
                      Runners' Legal Ownership

        On November 17, 2006, "Trac-N-Field Entertainment f/s/o Andrew Harr and

 Jermaine Jackson" entered into a "Publishing Licensing Agreement" with Notting Dale.

 (DE 228-22). The purpose of the agreement was for Notting Dale to "act as the publisher"

 for certain specified musical works, including Hust/in'.   Id. at 2. In the agreement, the

 Writer "grants and licenses" to Notting Dale the following rights in the works:

        (a)    The sole and exclusive right to print, copy and otherwise graphically
        reproduce the Works in any form and by any means whatsoever ... and to
        sell, distribute, hire, lend to the public or otherwise dispose of such
        reproductions and copies including the right to licence lyrics only for
        publication
        (b)   The sole and exclusive right publicly to perform, broadcast and
        transmit via any means the Works
        (c)  The sole and exclusive right to record, transcribe and otherwise
        mechanically or electronically record or reproduce the Works



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         (d)     Subject in each case to the prior consent of the Writer such consent
         not to be unreasonably withheld, the exclusive right in the Licensed Territory
         to issue licences for the recording and/or synchronization of the Works with
         films, tapes or other permanent visual images produced in the Licensed
         Territory
         (e)    The right to secure copyright registration and renewal copyright
         registration in respect of the Works in the name of the copyright owner
         under any applicable law now in effect or hereafter enacted
        (f)    The right to collect and receive during the Term ... all of the total
        fees, royalties, and monies arising prior to and during the Term ... as a
        result of the use and/or exploitation of the Works.
         (g)    The Licensee shall be entitled to license any third party or to
         authorize or permit any third party to exercise any or all rights of the
         Licensee ...
 Id. at 3-4.

        At the end of the agreement is a "Direction Letter" that states

        Please be advised that effective as of, November 17th 2006 we Trac-N-
        Field Entertainment f/s/o Andrew Harr and Jermaine Jackson have granted
        to Notting Dale Songs, Inc. and its licensees and assigns, the exclusive
        right, throughout the world, in respect of compositions of which the
        undersigned is the copyright proprietor, including those compositions listed
        on Schedule A annexed (the "Compositions"):

        (i) to license and cause others to license the use of the Compositions; and

        (ii) to administer and grant rights in and to the Compositions and the
        copyrights therein; and

        (iii) to publish and sell sheet music and/or folios of the Compositions if it so
        elects; and

        (iv) to collect any and all monies payable with respect to the Compositions,
        including any monies earned prior to the date hereof; and

        (v) to otherwise administer 100% of the Compositions and the copyrights
        therein and to act as the publisher thereof.

 Id. at 14. Notably, Schedule A indicates that TNF's share of the exclusive rights for the

 musical composition of Hust/in' was 37.5%.        Id. at 15. Accordingly, the Parties have


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 agreed and stipulated that the Notting Dale Agreement is an "exclusive publishing

 licensing agreement" between TNF and Notting Dale that granted Notting Dale "the

 exclusive right to license and administer all of TN F's interest ... in certain compositions,

 including 37.5% of Hust/in'." See (DE 376    ,-r 48; DE 355 ,-r 44).
        Having set out the terms of the Notting Dale Agreement, the Court turns to

 Defendants' argument that the Agreement proves, as a matter of law, the Runners have

 no standing to sue as legal owners of Hust/in'. This argument does not warrant

 reconsideration of the Court's prior ruling. As the Court has explained, if the Runners did

 not create Hust/in' as a work for hire and if they never assigned their interest in the

 copyright to TNF, their percentage ownership is still unclear. See (DE 462 at 19-26); (DE

 399 at 43). If they can support their legal ownership arguments with sufficient, competent

 evidence at trial, then the Runners' could show they own 50% of Hust/in'. Id. The Notting

 Dale agreement, however, involves only a 37.5% interest in Hust/in', potentially leaving

 an ownership interest that was not transferred in the agreement. (DE 228-22).           The

 argument fails for this reason alone.

        In addition, the Parties dispute whether the right to prepare derivative works was

 transferred in the Notting Dale Agreement. The Agreement includes language indicating

 a broad and comprehensive transfer of rights, including "the exclusive right, throughout

 the world ... [to] grant rights in and to the Compositions [including 37.5% of Hustlin1 and

 the copyright[] therein[.]" But the Agreement also does not explicitly mention the right to

 prepare derivative works. Although the Court previously remarked that the Notting Dale

 Agreement assigned an ownership interest in all six exclusive rights in the Hust/in'




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 copyright, upon further review of the Agreement and case law, the Court finds that this

 issue remains open and must be resolved in connection with trial.

               ii.    The Purported "Notes or Memoranda" Of Copyright Assignment

        Defendants'    second    argument is that there        are   numerous '"note[s] or

 memorand[a] 2 of the transfer' to TNF, signed by Harr and Jackson that satisfy 17 U.S.C.

 § 204(a) and independently memorialize the transfer of ownership to TNF, including the

 three copyright registrations for Hustlin', the Copyright Splits Agreement, and the Notting

 Dale Agreement." (DE 468 at 3). A "note" or "memorandum" satisfies Section 204(a)'s

 writing requirement only if it confirms a prior agreement. See Arthur Rutenberg Homes,

 Inc. v. Drew Homes, Inc., 29 F.3d 1529 (11th Cir. 1994) (The "note or memorandum"

 "does not itself constitute the transfer; rather, the writing renders valid and enforceable in

 court a change in ownership that has already taken place"). After careful review of the

 record and applicable law, the Court finds that the purported "note[s]" and "memorand[a]"

 cited by Defendants do not conclusively establish, as a matter of law, that the Runners

 agreed to assign their legal interest in Hust/in' to TNF. That issue must be determined by

 a jury. Thus, Defendants may argue at trial both that (1) the Runners assigned their legal

 ownership interest in Hust/in' to TNF in a written "instrument of conveyance" that the

 Parties have not located; and/or (2) the Runners agreed to assign their copyright interest

 to TNF and that agreement is confirmed in written "notes" and "memoranda" that satisfy

 Section 204(a)'s writing requirement.




 2Defendants' motion for reconsideration is the first time they have advanced their "note
 or memorandum" argument, despite many prior opportunities to do so.
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           B.     The Parties' Motions Regarding Trial

           Defendants have also moved to delay the trial on damages and liability and set a

 separate, preliminary trial on the issue of the Runners' standing. See (DEs 468, 477). For

 their part, Plaintiffs have moved the Court to enter final judgment as to Plaintiff Roberts

 and certify that judgment, pursuant to Fed. R. Civ. P. 54(b), for immediate interlocutory

 appeal. (DE 475). Plaintiffs also ask the Court to stay all other pending matters until

 Roberts' appeal is resolved. (DE 476).

           As Plaintiffs point out, bifurcating issues for trial and/or for separate trials is the

 exception, not the rule. See, e.g., Levesque v. Gov't Emps. Ins. Co., No. 15-14005-CIV,

 2016 WL 1156288, at *2 (S.D. Fla. Mar. 24, 2016) ("Bifurcation is the exception, not the

 rule, and the party seeking bifurcation bears the burden of establishing bifurcation is

 warranted."); Kos Pharm., Inc. v. Barr Labs., Inc., 218 F.R.D. 387, 391 (S.D.N.Y. 2003)

 ("[t]he    inconveniences,     inefficiencies   and   harms       inherent   in   these   probable

 consequences [of bifurcation]-to the parties and third parties, to the courts, and to the

 prompt administration of justice-weigh against separation oftrials and suggest that, for

 those probable adverse effects to be overcome, the circumstances justifying bifurcation

 should be particularly compelling and prevail only in exceptional cases"). Similarly, Rule

 54(b) certification is appropriate in "exceptional" circumstances or when "unusual

 hardship" would result to the Parties by awaiting the disposition of the entire case before

 obtaining appellate review. Ebrahimiv. City of Huntsville Bd. of Educ., 114 F.3d 162, 168

 (11th Cir. 1997) (explaining that there is a "federally preferred practice of postponing

 appeal until after a final judgment has been entered" and that Rule 54(b) certification

 results in "injury to the interest of judicial administration).



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          The Court has already ruled that Plaintiffs' request for a stay is denied. (DE 478).

 Plaintiffs' request for a Rule 54(b) certification is similarly denied; they have failed to

 demonstrate why this Court should not adjudicate the pending claims to conclusion. The

 Parties' concerns regarding the cost and inconvenience to witnesses cannot justify Rule

 54(b) certification and delaying this matter even further. At the February 8, 2019 status

 conference, the Court will hear limited argument regarding Defendants' request for a

 separate, preliminary trial on standing. The Parties are advised, however, that the Court

 will consider this option only if the trial on standing-limited to 2-3 days-begins on April

 15, with the trial on liability and damages (if necessary) beginning immediately after.

 IV.      CONCLUSION

          For these reasons, it is ORDERED AND ADJUDGED that:

          1.    Defendants' request for reconsideration (DE 468) is DENIED.

          2.    Plaintiffs' motions for Rule 54(b) certification (DE 475) and to stay

 proceedings (DE 476) are DENIED.

          3.    Defendants' request to delay the trial on liability and damages is DENIED.

          4.    At the February 8, 2019 status conference, the Court will hear limited

 argument on the request for a separate trial on standing, in accordance with the rulings

 above.

          5.    At the status conference, the Parties shall be prepared to address and

 argue all of the issues identified in the notices of matters pending before trial. (DEs 464,

 467).




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